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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 14-MC-24887-LOUIS

   IN RE APPLICATION OF
   HORNBEAM CORPORATION

   REQUEST FOR DISCOVERY PURSUANT
   TO 28 U.S.C. § 1782
   ____________________________________/

           HALLIWEL ASSETS, INC. AND PANIKOS SYMEOU’S MOTION TO
         PRODUCE AND UNSEAL APPLICANT HORNBEAM’S EX PARTE FILING
                  AND INCOPORATED MEMORANDUM OF LAW

          Halliwel Assets, Inc. and Panikos Symeou (“Intervenors”), move to produce and unseal the

   August 21, 2019 ex parte filing (the “Ex Parte Filing”), ECF 338, of Applicant Hornbeam

   Corporation (“Hornbeam”) and Intervenors Vadim Shulman and Bracha Foundation (collectively

   the “Hornbeam Parties”). Intervenors repeatedly have requested the Hornbeam Parties to provide

   copies of what they filed ex parte with this Court to no avail. This motion should be granted for

   the reasons set forth in the following memorandum of law in support.

                                        MEMORANDUM OF LAW

   I.     INTRODUCTION

          The Hornbeam Parties have turned this §1782 proceeding into a sham and nothing is more

   evident of that then their having communicated ex parte with this Court without explanation. Since

   December 2014, Hornbeam promised to file new BVI proceedings, but never did so despite all

   discovery being completed more than eight months ago, and despite the Hornbeam Parties’

   ongoing violation of the Stipulated Protective Order (“SPO”) in not destroying the Responsive

   Materials – even though the repeatedly extended deadline for destruction expired on August 12,

   2019, and the requested (but never ruled-upon) extended deadline of October 14, 2019, passed

   over a week ago.
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          Then, on August 21, 2019, the Hornbeam Parties made the Ex Parte Filing. ECF 338. It

   was not attached to or filed with any other document. Intervenors made numerous demands for

   the Hornbeam Parties to produce the Ex Parte Filing, but they refused. They refused even to

   disclose the nature of the Ex Parte Filing.

          First, the Ex Parte Filing should be produced because the Hornbeam Parties have not met

   their extraordinary burden to permit ex parte filings with the Court. Indeed, this Court has ordered

   that ex parte communications are not permitted, and has required that the parties, instead, avail

   themselves of the procedure for filing under seal (a procedure whereby Intervenors would receive

   copies of any such filing). See, e.g., Order Amending Stipulated Protective Order dated October

   24, 2018 (ECF No. 286) (striking section of SPO that required Court to keep Certifications on file

   and further ordering that “email communications with chambers by the Parties and/or their counsel

   is prohibited. All applications for relief, including for hearings, shall be filed and docketed.”); see

   also ECF No. 287 (Order directing clerk to file under seal an ex parte email from Hornbeam’s

   counsel).

          Second, the Ex Parte Filing should be unsealed. The Hornbeam Parties have not even met

   their burden for sealing and did not even move for such a relief. Filings may be sealed only if,

   following a proper motion, the Court has made specific, on-the-record findings demonstrating that

   sealing is justified, which has not occurred and cannot be made based on the facts.

   II.    BACKGROUND

          A.      Hornbeam’s Repeated False Promises to File a New BVI Action

          Hornbeam initiated ex parte proceedings under 28 U.S.C. §1782 on December 29, 2014,

   Application, ECF 1, promising to file new BVI proceedings against the Halliwel Intervenors. The




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   Subpoena Respondents1 completed document production on September 29, 2018, comprising

   thousands of documents. The depositions of Subpoena Respondents took place on October 23, 24

   and 25, 2018. In addition, subpoena respondent Specialty Steel Works, Inc. produced thousands

   of pages of documents and was deposed on December 18, 2018, completing discovery. The

   document productions and depositions were designated as Confidential Information, as defined in

   the SPO. Additionally, pursuant to the SPO, Subpoena Respondents designated portions of the

   depositions as “Attorney’s Eyes Only.”

          The SPO provides:
          The Responsive Materials must be destroyed if Hornbeam does not initiate the
          BVI Litigation within one year of the date of the issuance of this Amended
          Protective Order. The one-year period shall be tolled during any time period this
          Court or the United States Court of Appeals for the Eleventh Circuit stays the use
          of the Responsive Materials. Any Party may request an extension of this one-year
          deadline by motion to this Court, and non-requesting party can object by letter
          within three business days.
          Unless otherwise ordered by the Court, any person permitted to review and
          maintain Responsive Materials containing information designated as
          Confidential or Attorneys' Eyes Only shall either return or destroy such
          Responsive Materials no later than sixty (60) days following the conclusion of the
          Permitted Litigations including any appeals, and shall so certify in writing, within
          ten days following the Responsive Materials’ return or destruction or the sixty (60)
          day period, whichever is earlier, and such certification shall be provided to the other
          Party within five (5) days thereof.

   SPO ¶ 15(c)-(d) (emphasis added), ECF 224, as amended by Orders ECF Nos. 286, 318 and 325.

          Thus, initially, the SPO required Responsive Materials to be destroyed if the BVI litigation

   was not commenced by July 12, 2019, i.e., one year from the SPO. The July 12 date was extended

   to August 12, 2019 – albeit not by “Joint” Motion, as misrepresented by the Hornbeam Parties.

   See Order, ECF 328.


   1
      The “Subpoena Respondents” are: CC Metals and Alloys, LLC; Felman Production, LLC;
   Felman Trading, Inc.; Georgian American Alloys, Inc.; Mordechai Korf; Optima Acquisitions,
   LLC; Optima Group, LLC; Optima Fixed Income, LLC; Optima Ventures, LLC; Optima
   International of Miami, Inc.; and 5251 36ST, LLC.


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          B.      Intervenor’s Request for Disclosure and Destruction

          On August 9, 2019, the Hornbeam Parties moved to extend the document destruction

   deadline from August 12 to October 14, 2019. See ECF 335. On August 14, 2019, Intervenors

   opposed the extension request. See ECF 337. But Hornbeam has not filed a new BVI action within

   their additional, proposed extension deadline. At this point, the requested extension is moot (as

   the date came and went without a ruling or renewed motion). Intervenors have requested that the

   Court order the Hornbeam Parties (i) to disclose of the names and addresses of all persons who

   received Responsive Materials, within seven (7) days, (ii) destroy all Responsive Materials within

   (14) fourteen days, and (iii) certify such destruction to the Court. See ECF 337, p. 15. That motion

   is briefed and pending.

          C.      The Ex Parte Filing

          On August 21, 2019, the Hornbeam Parties made the Ex Parte Filing.                ECF 338.

   Intervenors made numerous demands for the Hornbeam Parties to produce the Ex Parte Filing, but

   they provided no answer. See August 21 and October 1, 2019 emails, Exh. 1.

          D.      The October 11, 2019 Meet and Confer

          At the October 11, 2019 “meet and confer” for this motion, counsel for the Hornbeam

   Parties refused to produce the Ex Parte Filing, and refused to provide any explanation as to the

   reason for the filing. Indeed, counsel for the Hornbeam Parties refused to even disclose the nature

   of the Ex Parte Filing, other than to confirm that the Ex Parte Filing allegedly is unrelated to a

   then-pending motion to withdraw by prior counsel, Carol Bruce. At this point, Intervenors have

   no idea what was filed ex parte, who filed it, or why it was filed ex parte.




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   III.   ARGUMENT

          A.      THE COURT SHOULD ORDER PRODUCTION OF THE EX PARTE
                  FILING

          The Ex Parte Filing should be produced because “our adversarial legal system generally

   does not tolerate ex parte determinations on the merits of a civil case.… The right to due process

   encompasses the individual’s right to be aware of and refute the evidence against the merits of his

   case.” Vining v. Runyon, 99 F.3d 1056, 1057 (11th Cir. 1996). “Although a judge freely may use

   in camera, ex parte examination of evidence to prevent the discovery or use of evidence,

   consideration of in camera submissions to determine the merits of litigation is allowable only when

   the submissions involve compelling national security concerns or the statute granting the cause of

   action specifically provides for in camera resolution of the dispute.” Id. at 1057-58 (citing

   Abourezk v. Reagan, 785 F.2d 1043, 1061 (D.C. Cir. 1986) (requiring a “demonstration of

   compelling national security concerns”).2        As in Vining, “[n]either of these exceptional

   circumstances is present in this case.” Id. at 1057-1058.

          First, the Ex Parte Filing cannot be used for any merits issue related to compliance with

   the SPO, document destruction or production of the Certifications. As noted in Abourezk:

               [I]nspection of materials by a judge isolated in chambers may occur when a
               party seeks to prevent use of the materials in the litigation. When one side,
               seeking to block consideration of relevant matter, asserts an evidentiary
               privilege, the court may inspect the evidence in camera and alone for the
               limited purpose of determining whether the asserted privilege is genuinely
               applicable.… If the court finds that the claimed privilege does not apply, then
               the other side must be given access to the information; if the court’s finding is
               that the privilege does apply, then the court may not rely upon the information
               in reaching its judgment. In either case, no party will be faced -- as were the
               plaintiffs in this case -- with a decision against him based on evidence he was
               never permitted to see and to rebut.


   2
     See also Judicial Code of Conduct Canon 3 §A(4), quoted in In re Paradyne Corp., 803 F.2d
   604, 612 (11th Cir. 1986) (“A judge should … neither initiate nor consider ex parte …
   communications concerning a pending or impending proceeding.”)


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   Abourezk, 785 F.2d at 1061 (citations omitted) (emphasis added). Without knowing the who, what

   or why of the Ex Parte Filing, Intervenors – and Subpoena Respondents for that matter – are at an

   unfair disadvantage. See In re Paradyne Corp., 803 F.2d at 612 (“[T]o ameliorate any unfair

   advantage -- or the appearance thereof -- that might have resulted from the ex parte presentation

   at issue here, the transcript must be made available to petitioners.”).

           Second, the Hornbeam Parties made no showing of any extraordinary circumstances to

   justify the Ex Parte Filing -- they raised no recognized “extraordinary circumstances” of

   compelling national-security interests or cited to any statute authorizing statute such an ex parte

   submission. Vining, 99 F.3d at 1057-58 (“[D]istrict court erred in using information obtained in

   its ex parte, in camera examination of the personnel files to judge the merits of [plaintiff’s] …

   claim”); see also Tonnesen v. Marlin Yacht Mfg., 171 Fed.Appx. 810, 813 (11th Cir. 2006)

   (“[D]istrict court erred in considering the [ex parte] affidavit and abused its discretion in denying

   [plaintiff’s] motion to strike the affidavit.”).

           In sum, there appears to be no reason – and the Hornbeam Parties have offered none – for

   the Ex Parte Filing. Taking counsel at his word, if the Ex Parte Filing has nothing to do with prior

   counsel’s withdrawal and therefore contains no privileged information, the Court should order

   Hornbeam to serve and file the Ex Parte Filing, unredacted.

           B.      THE COURT SHOULD ORDER THE EX PARTE FILING UNSEALED
                   AND FILED ON THE DOCKET

           “The common-law right of access to judicial proceedings, an essential component of our

   system of justice, is instrumental in securing the integrity of the process.” Chicago Tribune Co. v.

   Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001).3 “Judges deliberate in private


   3
     See Nixon v. Warner Commc’ns., Inc., 435 U.S. 589, 597 (1978) (“[T]he courts of this country
   recognize a general right to inspect and copy public records and documents, including judicial
   records and documents.”)


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   but issue public decisions after public arguments based on public records . . .. Any step that

   withdraws an element of the judicial process from public view makes the ensuing decision look

   more like fiat and requires rigorous justification.” Perez-Guerrero v. United States AG, 717 F.3d

   1224, 1235 (11th Cir. 2013) (citations omitted). It makes no difference whether the pretrial filings

   are dispositive because a filing “presented to the court to invoke its powers or affect its decisions,

   whether or not characterized as dispositive, is subject to the public right of access.” Romero v.

   Drummond Co., 480 F.3d 1234, 1245 (11th Cir. 2007) (quoting United States v. Amodeo, 71 F.3d

   1044, 1050 (2d Cir. 1995)).

          “A party may overcome that presumption [of openness] if it can show an overriding

   interest based on findings that closure is essential to preserve higher values and is narrowly

   tailored to serve that interest.” United States v. Ochoa-Vasquez, 428 F.3d 1015, 1030 (11th Cir.

   2005) (citing Press-Enter. I, 464 U.S. at 510) (internal quotation marks omitted) (emphasis added).

   “When sealing proceedings or documents, a court must articulate the overriding interest along with

   findings specific enough that a reviewing court can determine whether the closure order was

   properly entered.” Id. (citing Press-Enter. I, 464 U.S. at 510). The findings “should include the

   reason for the closure, the evidence that supports the need for the closure, the number of persons

   excluded and the number allowed to remain, and presence or absence of the press.” Id. at 1030

   n.16 (citations omitted).

          First, the Hornbeam Parties filed no motion to seal and accordingly made no showing, let

   alone for good cause, to seal the Ex Parte Filing. “The common law right of access may only be

   overcome by a showing of good cause, which requires balancing the asserted right of access against

   the opponent’s interest in keeping the information confidential. Whether good cause exists is

   decided by the nature and character of the information in question.” Romero, 480 F.3d at 1246




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   (citing Chi. Tribune, 263 F.3d at 1309).4 Here, the failure to move and show good cause requires

   unsealing the Ex Parte Filing. See Gubarov v. Buzzfeed, Inc., 365 F. Supp. 3d 1250, 1256 (S.D.

   Fla. 2019) (overruling objections to unsealing his deposition testimony, and documents related to

   the parties’ rationale for sealing.).

           Second, the Ex Parte Filing should be unsealed because the Court made no on-the-record

   findings to justify sealing. See Romero, 480 F.3d at 1248 (“[T]he district court did not offer any

   explanation for sealing or refusing to unseal the motions.… Having reviewed these motions, we

   are unable to discern any reason to keep them sealed.”); Ochoa-Vasquez, 428 F.3d at 1030 (orders

   sealing specific documents violated First Amendment standards “because no finding was made on

   the record to rebut the presumption of openness.”); see also United States v. Antar, 38 F.3d 1348,

   1363 (3d Cir. 1994) (“From the record before us, the district judge appears not to have recognized

   that maintaining the transcripts under seal, though a passive act, was an active decision requiring

   justification under the First Amendment”); In re New York Times, 828 F.2d 110, 116 (2d Cir. 1987)

   (vacating sealing orders as insufficiently specific to meet the standard for sealing court filings).

   Here there is no factual basis to make any findings in support of sealing.

   IV.     CONCLUSION

           For the reasons set forth above, the Hornbeam Parties should be ordered to produce to

   Intervenors and Subpoena Respondents the Ex Parte Filing, and ECF 338 should be unsealed.




   4
    Local Rule 5.4(a) reflects a “General Policy” that “Unless otherwise provided by law, Court rule,
   or Court order, proceedings in the United States District Court are public and Court filings are
   matters of public record.” S.D. Fla. L.R. 5.4(a). As such, any motion to seal materials “must set
   forth the factual and legal basis for departing from the policy that Court filings be public.” S.D.
   Fla. L.R. 5.4(b)(3). The motion also must “describe the proposed sealed filing with as much
   particularity as possible without revealing the confidential information and specify the proposed
   duration of the requested sealing.” Id. Here, the Hornbeam Parties did not even bother to file a
   motion.


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                                     REQUEST FOR HEARING

          Pursuant to Local Rule 7.1(b), Intervenors request a hearing on their motion to produce

   and unseal the Ex Parte. Although the written arguments should be sufficient for the Court to

   grant this Motion, oral presentation of the factual and legal issues may assist the Court in making

   its determination, especially as they relate to the impropriety of the Hornbeam Parties filing the Ex

   Parte Filing and prejudice to Intervenors. Intervenors estimate that a hearing would last

   approximately 30 minutes.

                        CERTIFICATE OF GOOD FAITH CONFERENCE

          Pursuant to Local Rule 7.1(a)(3), counsel for Intervenors Panikos Symeou and Halliwel

   Assets Inc. hereby certifies that the undersigned has conferred with counsel for the Hornbeam

   Parties on October 11, 2019 by telephone, who have advised that their clients oppose the relief

   requested herein and refused to even disclose the nature of the Ex Parte Filing, other than to

   confirm that the Ex Parte Filing allegedly is unrelated to a then-pending motion to withdraw by

   prior counsel, Carol Bruce.

                                                         /s/ Sujey Herrera
                                                         Sujey Herrera
   October 23, 2019
                                                         Respectfully submitted,

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                                                           Attorneys for Panikos Symeou and
                                                           Halliwel Assets Inc.

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 23, 2019 I electronically filed the foregoing

   document with the Clerk of the Court using the CM/ECF system, which will send notification of

   such filing to counsel or parties of record.

                                                              /s/ Sujey S. Herrera
                                                              Sujey S. Herrera




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